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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             : CRIMINAL NO. 20-199-01(ZMF)(BAH)
                                                     :
                                                     :
             v.                                      :
                                                     :
BRITTANY NICOLE ADAMS,                               :
                                                     :
  Defendant.                                         :


   GOVERNMENT=S MEMORANDUM IN SUPPORT OF PRE-TRIAL DETENTION

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its oral motion that

the defendant be detained pending trial pursuant to 18 U.S.C. § 3142 (f)(1)(E). The government

requests that the following points and authorities, as well as any other facts, arguments and

authorities presented at the detention hearing, be considered in the Court’s determination regarding

pre-trial detention.

                                      I. Procedural History

        On September 23, 2020, a grand jury for the District of Columbia returned an indictment,

charging defendants Brittany Nicole Adams, and Steven Anthony Benson, Jr., with Conspiracy to

Distribute Explosive Devices, in violation of Title 18, United States Code, Section 371, and three

counts of Unlawfully Distribution of Explosive Devices, in violation of Title 18, United States

Code, Sections 842(a)(3)(B) and 844(a)(1). On September 25, 2020, at the defendant’s initial

appearance, the government orally requested the detention of the defendant pending trial and

requested a hearing for the defendant’s detention pending trial. The government’s request was

granted and a detention hearing for the defendant is scheduled for Monday September 28, 2020.
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                               II. Legal Authority and Argument

       As a preliminary matter, the “rules concerning the admissibility of evidence in criminal

trials do not apply to the presentation and consideration of information at the [detention] hearing.”

18 U.S.C. § 3142(f). Specifically, the presentation of hearsay evidence is permitted. Id.; United

States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996). Moreover, the government is not required

to “spell out in precise detail how the government will prove its case at trial, nor specify exactly

what sources it will use.” United States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United

States v. Williams, 798 F. Supp. 34, 36 (D.D.C. 1992). A pretrial detention hearing should not be

used as a discovery device and cross-examination should be limited to the disputed issues, since

the detention hearing is not to be turned into a mini-trial and is not to be used as a subterfuge to

obtain discovery. Smith, 79 F.3d at 1210, see also Williams, 798 F. Supp. at 36.

       There are four factors under Section 3142(g) that the Court should analyze in determining

whether to detain the defendant pending trial: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence against the defendant; (3) his history and characteristics;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by his release. See 18 U.S.C. ' 3142(g). A review and understanding of the facts and

circumstances in this case require the Court to conclude that there is no condition or combination

of conditions that would assure the safety of the community. See 18 U.S.C. ' 3142(e)(1).

       A.      Nature and Circumstances of the Offenses Charged

       Brief Summary: On June 30, 2020, July 1, 2020, and July 17, 2020, an undercover agent

(hereinafter “UC”) with the Bureau of Alcohol, Tobacco, Firearms and Explosives (hereinafter

“ATF”) purchased several explosive devices from the defendants. All three purchases were


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recorded by undercover audio and video. Initially ATF had previously received information

regarding several explosive devices offered for sale on the website “OfferUp.com.” The pictures

of the devices on the website appeared to be explosives devices and the listing stated “Dynamite”

for local pickup in Washington, D.C.

       PURCHASE 1

       During the course of the ATF’s investigation, the UC contacted an individual later

identified as Brittany Nicole Adams (hereinafter “Adams”) via an advertisement posted on the

OfferUp application under the user name Bribri for “dynamite.” The UC and Adams exchanged a

series OfferUp messages and SMS/MMS electronic messages over her cellphone discussing the

purchase of the “dynamite.” Through these messages, Adams agreed to sell the UC the “dynamite”

and provided him with her phone number to contact Adams for further communication.

       On June 30, 2020, at approximately 4:24 pm, the UC conducted a controlled purchase of

eleven (11) explosive devices from Adams in the parking lot area of the Metro Station located at

4500 Benning Road, Northeast, Washington, D.C. Specifically, when the UC arrived at the

aforementioned location, he sent Adams a SMS message to Adams’ cellphone advising that he had

arrived. Adams responded to that message stating that she would come to the UC. Adams arrived

in a silver Acura 4D bearing Virginia registration UUL2542, which was registered to defendant

Steven Anthony Benson, Jr., (hereinafter “Benson”). Adams was in the front passenger seat and a

black male drove that vehicle. Adams told the UC that her brother manufactures the devices after

work and that the UC could purchase more in the following days. At that time, the UC gave Adams

$460.00 in United States currency of pre-recorded ATF funds in exchange for the eleven (11)

explosives devices.


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       Below is a photo of the items purchased on that day. Please note the actual size of the

explosive devices are significantly larger and wider than depicted in the photo.




       PURCHASE 2

       On July 1, 2020, again following an exchange of SMS messages over Adams’ cellphone,

at approximately 4:33 pm, the UC conducted a second controlled purchase of several explosive

devices from Adams and Benson in the parking lot area of the Metro Station located at 4500

Benning Road, Northeast, Washington, D.C.

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       When the UC arrived at the aforementioned location, he sent Adams a SMS message to

her cellphone advising that he had arrived. Adams responded to that message stating that she would

come to the UC. Adams arrived in the same vehicle, was in the front passenger seat, and a black

male drove that vehicle. Adams handed the UC a clear plastic bag containing four (4) large brown

in color suspect explosive devices, one (1) red, white and blue device, and several smaller red in

color devices in exchange for $320.00 in United States currency of pre-recorded ATF funds. The

UC then asked Adams about larger devices. Adams then asked the driver of the vehicle, who was

later identified as Benson, whether or not he had the “big red one left.” Benson indicated that he

did. Adams then stated that she did not have the device with her but it was nearby and she would

go get it, then the defendants drove off. The UC remained at the Metro Station parking lot. At

approximately 4:49 pm, Adams and Benson returned in Benson’s vehicle. At that time, Adams

handed the UC one additional very large explosive device. The UC gave Adams $400 in United

States currency pre-recorded ATF funds for the sale of that additional device.

       Below are photos of the items purchased on that day. Please note the actual size of the

explosive devices are significantly larger and wider than depicted in the photo. However, the

largest explosive device sold by the defendants, as shown with the ATF agent holding the explosive

device in his hand, was measured over 15 inches long and 3 1/2 inches diameter.




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       PURCHASE 3

       On July 17, 2020, at approximately 11:05am, the UC conducted a controlled purchase of

four explosive devices from Adams and Benson in the parking lot area of the Home Depot located

at 901 Rhode Island Avenue Northeast, Washington, D.C. When the UC arrived at the

aforementioned location, he sent Adams a SMS advising that he had arrived. ADAMS responded

to that message stating that she was present.

       When Adams arrived, she was the front seat passenger same vehicle mention above. The

vehicle was driven by Benson, whereby Adams then exited the vehicle, opened the trunk and

placed four suspected explosive devices into a black plastic bag. Adams then handed the UC this

plastic bag containing the suspected explosive devices. The UC then asked about an additional,

larger device, to which Adams responded that she would have to ask her brother and let the UC

know if he had any more. The UC provided Adams with $150 in United States currency of pre-

recorded ATF official funds in exchange for the explosive devices.

       Below is a photo of the items purchased on that day. Please note the actual size of the

explosive devices are significantly larger and wider than depicted in the photo.




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       B.       Weight of the Evidence against the Defendant

       The second factor to be considered, the weight of the evidence, also clearly weighs in favor

of detention. The evidence against the defendant is very significantly strong. All three transactions

by the defendants are captured on clear audio and video recording, which depicts the defendant’s

interactions with the undercover agent and will corroborates any expectant testimony of the

undercover officer.




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       C.      The Defendant’s History and Characteristics

       The third factor, the history and characteristics of the person, the government notes that

according to the Pretrial Services Report that the defendant does not have a criminal history.

However, the government avers that that factor does not outweigh detention in this matter and

submits that the defendant should not be released.


       D.      Danger to the Community

       The fourth factor, the nature and seriousness of the danger to any person or the community

posed by the defendant’s release, also weighs in favor of detention. The defendants advertised very

substantial explosive devices to the public on social media. These devices sold by the defendants

are very dangerous and of great power that each of the explosives devices could inflict great harm

or death – by blowing off fingers, hands, and arms - if the devices went off in someone’s hand or

near their bodies. Simply put, by the defendant’s actions in this matter and the fact that the

defendant may still have access to other and similar explosive devices, the defendant represents a

real and significant danger to any person and the community.

        For these reasons, the government submits that the Court should order the defendant’s

detention during the pendency of this case to protect the community.




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                                        III. Conclusion

       The government respectfully requests that the Court issue an Order granting its motion that

the defendant be held without bond pending trial.




                                            Respectfully submitted,

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                                     By:     /s/ Emory V. Cole
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